             Case 6:20-bk-02159-LVV              Doc 76       Filed 04/22/20       Page 1 of 11



                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

  IN RE                                                        CHAPTER 11

  FOODFIRST GLOBAL RESTAURANTS,                                CASE NO.: 6:20-bk-02159-LVV
  INC., et al.,
                                                               Jointly Administered 1
                    Debtors.

      JOINT MOTION FOR ORDER ESTABLISHING A PROCEDURE FOR (I)
  DETERMINING CLAIMS ARISING UNDER THE PERISHABLE AGRICULTURAL
 COMMODITIES ACT, (II) AUTHORIZING THE DEBTORS TO PAY CERTAIN PRE-
    PETITION CLAIMS ARISING UNDER THE PERISHABLE AGRICULTURAL
         COMMODITIES ACT; AND (III) GRANTING RELATED RELIEF

            COMES NOW FoodFirst Global Restaurants, Inc. (“FoodFirst”), and seven of its

affiliates or subsidiaries (the “Affiliated Debtors”) (“FoodFirst and the “Affiliated Debtors” are hereinafter

collectively referred to as the “Debtors”), Produce Alliance, LLC, (“Produce Alliance”), Get Fresh

Produce, Inc. (“Get Fresh”), Gulf Coast Produce Distributors, Inc. (“Gulf Coast”), PPINC., LLC

d/b/a Premier Produce (“Premier”), Premier Produce Central Florida, LLC t/a Downtown Produce

(“Downtown”), Sirna & Sons, Inc. t/a Sirna & Sons Produce (“Sirna”), and Willie Itule Produce

Inc. (“Itule”), (Produce Alliance, Get Fresh, Gulf Coast, Premier, Downtown, Sirna, and Itule are

hereinafter collectively referred to as the “PACA Creditors”), by and through their respective undersigned

counsel, and hereby jointly move the Court for an Order establishing a procedure for determining claims

arising under the trust provisions of the Perishable Agricultural Commodities Act, 7 U.S.C. §499e(c)

(“PACA”) and (ii) authorizing the Debtors to pay certain pre-petition claims arising under the PACA; and

(iii) granting related relief. In support of this Joint Motion, the Debtors and PACA Creditors state as


1 The Debtors in these jointly administered cases are: Food First Global Restaurants, LLC, Case No. 6:20-bk-02159;

FoodFirst Global Holdings, LLC, Case No. 6:20-bk-02161; Brio Tuscan Grille of Maryland, Inc., Brio Marlton, LLC,
Case No. 6:20-bk- 02162; Brio Tuscan Grille of Baltimore, LLC, Case No. 6:20-bk-02164; Cherry Hill To, LLC, Case
No. 6:20-bk-02166; Brio Tuscan Grille of Cherokee, LLC, Case No. 6:20-bk-02165; and Bravo Development of
Kansas, Inc., Case No. 6:20-bk-02167.
             Case 6:20-bk-02159-LVV            Doc 76     Filed 04/22/20       Page 2 of 11



follows:

        1.      This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.

        2.      This is a core proceeding under 28 U.S.C. §157(b)(2).

        3.      Venue is proper in this Court under 28 U.S.C. §§1408 ad 1409.

        4.      The statutory bases for relief sought in this Motion are Sections 105(a), 507(a), and 541 of

the Bankruptcy Code.

        5.      Debtors filed voluntary petitions seeking relief under chapter 11 of the Bankruptcy Code

on April 10, 2020.

        6.      Debtors purchased wholesale quantities of fruits and vegetables from suppliers for use in

Debtors’ restaurants under the Bravo or Brio name across the country.

        7.      Upon information and belief, PACA Creditors and similarly situated creditors assert claims

against the Debtors arising from the sale of perishable agricultural commodities subject to protection under

the PACA trust provisions.

        8.      PACA requires prompt payment and provides super-priority protection to fresh fruit and

vegetable sellers, including the establishment of a statutory non-segregated trust (the “PACA Trust”)

consisting of a buyer’s inventory of perishable agricultural commodities, inventories of food or other

products derived from the perishable agricultural commodities, and any receivables or proceeds from the

sale of such commodities. 7 U.S.C. §499e(c)(2).

        9.      In order for Debtors, PACA Creditors, and other interested parties to qualify and quantify

the PACA trust claims asserted against the Debtors’ estates, Debtors and PACA Creditors seek to have this

Court establish the following procedure for the determination of PACA claims against the Debtors:

        a.      Within 5 days of the entry of an Order approving this procedure, Debtors’ counsel
                shall serve a copy of the PACA Order on all creditors and parties in interest,
                including all known PACA claimants, and file a Certificate of Service with the
                Court.

        b.      Any creditor alleging or asserting a claim against any of the Debtors pursuant to the
                trust provisions of PACA (a “PACA Claimant”) shall file with the Court via the Court’s
                Claim Registry and serve on Debtor’s counsel on or before June 1, 2020 (the “PACA


                                                     2
     Case 6:20-bk-02159-LVV         Doc 76     Filed 04/22/20      Page 3 of 11




       Claims Bar Date”), a completed Proof of Claim form substantially similar to the form
       attached hereto as Exhibit A (the “PACA Proof of Claim”) alleging unpaid produce
       sold pursuant to the PACA Trust, and copies of all documents supporting such claim,
       including (i) an itemized statement of account, (ii) the PACA Claimant’s unpaid
       invoices; (iii) any agreement between Debtor(s) and PACA claimant to interest or
       attorneys’ fees, and (iv) any notice of intent to preserve PACA trust benefits sent by
       PACA Claimant to Debtor(s).

c.     Any PACA Claimant that fails to timely file a Proof of Claim will be forever barred
       from asserting a PACA claim against any PACA Trust Assets or assets of the Debtors
       other than as a general unsecured creditor.

d.     No later than June 22, 2020 (the “Deadline to Object to PACA Proofs of Claim”) any
       party in interest, including the Debtors, may file with the Court an objection to the
       amount, validity, or enforceability of any of the PACA Claims filed with the Court.
       All objections shall be served on Debtors’ counsel and the PACA Claimant(s) whose
       claim is/are the subject of the objection. The objecting party shall set forth in detail
       the legal and factual basis for the objection including, if applicable, (1) the specific
       invoices subject to the objection, (2) the amount of the claim subject to the objection,
       and (3) the amount of the claim not subject to the objection (a “Claim Objection”).

e.     Any PACA Claim, or portion thereof, to which no objection has been timely filed shall
       be deemed an allowed PACA Claim and shall be paid within ten (10) days, or on or by
       July 2, 2020.

f.     On or before July 13, 2020, any PACA Claimant whose PACA Claim was the subject
       of a Claim Objection shall file with the Court a Response to the Claim Objection.

g.     The Bankruptcy Court shall thereafter schedule hearings at a date, time and location to
       be determined by the Court on all objections filed.

h.      Debtors shall segregate sufficient funds to satisfy all PACA Claims, in an amount not
       less than $900,000.00, which amount shall be increased if the filed PACA Claims
       exceed this amount (the “Segregated PACA Funds”). The Segregated PACA Funds
       shall exclusively be used to pay allowed PACA Claims until all allowed PACA Claims
       are paid in full.

i.     The Debtors shall pay all allowed PACA Claims within ten (10) days, or on or by July
       2, 2020, because PACA Claimants are entitled to prompt payment of their PACA
       Claims under 7 U.S.C. § 499b(4); 7 C.F.R. § 46.2(aa)(5). To the extent Debtors or
       other interested party dispute only a portion of a PACA Claim, that undisputed amount
       shall also be paid by July 2, 2020.

j.      In the event a PACA Claimant whose claim is the subject of a Claim Objection
       reaches an agreement regarding the Claim Objection, Debtors are authorized and
       directed to pay the agreed amount without further order of the Court.

k.     Any PACA Claimant who accepts payment from the Debtors in satisfaction of its

                                          3
             Case 6:20-bk-02159-LVV            Doc 76      Filed 04/22/20    Page 4 of 11




                PACA Claim will be deemed to have waived any and all PACA Claims, and any
                prepetition claims of whatever type, kind, or priority, against the Debtors, their
                property, their bankruptcy estates, and any PACA Trust Assets, but only to the extent
                of the amounts paid by Debtors on such PACA Claim. Notwithstanding and in addition
                to the foregoing, any PACA Claimant also holding non-PACA secured, general
                unsecured, or administrative claims shall have the right to file a proof of claim, and to
                take other necessary steps to assert such claims as appropriate under the Bankruptcy
                Code.

        l.      Any Segregated PACA Funds remaining after resolution of all PACA Claims shall be
                turned over to the Debtors’ estate.

        m.      The best interests of the Debtors, its creditors, and the estates will be served by the
                allowance of this Motion.

        WHEREFORE, the Debtors and PACA Creditors jointly request that the Court enter an Order

establishing the deadlines for the filing and determination of PACA Claims consistent with the relief

requested herein, and for all other relief deemed just and proper.

        RESPECTFULLY SUBMITTED this 22nd day of April, 2020.

SHUKER & DORRIS, P.A.                                     FURR AND COHEN, P.A.
Attorneys for the Debtor                                  Attorney for PACA Creditors
121 S. Orange Ave., Ste. 1120                             2255 Glades Road, Suite 301East
Orlando, FL 32801                                         Boca Raton, FL 33431
(407) 337-2060/(407) 337-2050-fax                         (561) 395-0500/(561)338-7532-fax


By /s/ R. Scott Shuker                               By /s/ Marc P. Barmat
  R. SCOTT SHUKER                                        MARC P. BARMAT
  Florida Bar No. 0984469                                Florida Bar No. 0022365
  Email: rshuker@shukerdorris.com                        email: mbarmat@furrcohen.com




                                                     4
            Case 6:20-bk-02159-LVV             Doc 76     Filed 04/22/20       Page 5 of 11



                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

  IN RE                                                    CHAPTER 11

  FOODFIRST GLOBAL RESTAURANTS,                            CASE NO.: 6:20-bk-02159-LVV
  INC., et al.,
                                                           Jointly Administered
                   Debtors.

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing, together with any exhibits, has been
furnished either electronically and/or by U.S. First Class, postage prepaid mail to: Debtors, c/o Stephen R.
Layt, 420 S. Orange Ave., Suite 900, Orlando, Florida 32801; Proskauer Rose LLP, attorney for GPEE
Lender, LLC, Eleven Times Square, New York, New York 10036-8299; Vincent Indelicato, Esq.,
Proskauer, Eleven Times Square, New York, New York 10036, (vindelicato@proskauer.com); Ron Freed,
VP, City National Bank, 555 South Flower St., 16th Floor, Los Angeles, California 90071
(Ron.Freed@cnb.com); Matthew White, Esq., Garrison Funding, 1290 Avenue of Americas, Suite 914,
New York, New York 10104 (mwhite@garrisoninv.com), Anthony M. DiGiacomo, Chapman and Cutler
LLP, 1270 Avenue of the Americas, New York, New York 10020 (digiacomo@chapman.com); Suzanne
E. Gilbert, Esq., Holland & Knight, 200 South Orange Avenue, Suite 2600, Orlando, Florida 32801
(Suzanne.gilbert@hklaw.com); Brian Smith, Esq., Holland & Knight, 200 South Orange Avenue, Suite
2600, Orlando, Florida 32801, (brian.smith@hklaw.com); all members of the Creditors’ Committee:
Brookfield Property Retail, Inc. Attn: Julie Minnick Bowden, National Bankruptcy Director, 350 N.
Orleans Street, Suite 300 Chicago, IL 60654 (julie.bowden@brookfieldpropertiesretail.com); Bar Harbor
Seafood, Attn: Bradley Boe, Director of Credit, 188 Inverness Drive West Englewood, CO 80112
(Brad.boe@pfgc.com); Simon Property Group, Inc., Attn: Ronald M. Tucker, Vice President/Bankruptcy
Counsel, 225 W. Washington Street, Indianapolis, IN 46204 (rtucker@simon.com); all parties entitled to
receive CM/ECF noticing; all parties listed on the 1007-2 Parties-in-Interest list as shown on the matrix
attached to the original of this motion filed with the Court; and the U.S. Trustee’s Office, 400 W.
Washington Street, Suite 1120, Orlando, Florida 32801, this 22nd day of April 2020.

                                                 /s/ R. Scott Shuker
                                                 R. Scott Shuker, Esq.




                                                     5
              Case 6:20-bk-02159-LVV             Doc 76       Filed 04/22/20        Page 6 of 11




                                           EXHIBIT A

                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


     In re:
                                                                     Chapter 11
     FOODFIRST GLOBAL RESTAURANTS, INC.,
                                                                     Case No. 6:20-bk-2159-LVV
                                  et al.,1
                                                                     Jointly Administered
                                                   Debtors.


                                   PACA PROOF OF CLAIM FORM

       The undersigned submits the Proof of PACA Claim in accordance with the Court’s Order
granting Debtors’ motion approving procedures relating to PACA claims.

    1. Name and address of Claimant: ________________________________

                                           ________________________________
                                           ________________________________
                                           ________________________________

    2. PACA License No. of Claimant: _______________________________

    3. Amount of claim subject to the Perishable Agricultural
    Commodities Act, 7 U.S.C. §499e(c)                $_______________________

    4. Has this claim been acquired                   ____ No
    from someone else?                                ____ Yes From whom?___________________

    5. Does this claim amend one                     ____ No
    already on file?                                 ____ Yes Claim number __________
                                                              Date filed ______________

    6. Provide documents supporting proof of the date of sale, date of delivery of perishable
    agricultural commodity, and amount of claim owed, including interest and attorneys’ fees.


1 The Debtors in these cases for which joint administration has been sought are: Food First Global Restaurants,
LLC, Case No. 6:20-bk-02159; FoodFirst Global Holdings, LLC, Case No. 6:20-bk-02161; Brio Tuscan Grille of
Maryland, Inc., Brio Marlton, LLC, Case No. 6:20-bk- 02162; Brio Tuscan Grille of Baltimore, LLC, Case No.
6:20-bk-02164; Cherry Hill To, LLC, Case No. 6:20-bk-02166; Brio Tuscan Grille of Cherokee, LLC, Case No.
6:20-bk-02165; and Bravo Development of Kansas, Inc., Case No. 6:20-bk-02167.
          Case 6:20-bk-02159-LVV            Doc 76     Filed 04/22/20      Page 7 of 11




7. Provide documents establishing that claimant timely gave valid notice of intent to preserve
PACA trust rights to the Debtors in accordance with the statutory provisions set forth in 7
U.S.C. §§499e(c)(3)-(4).
The person             Check the appropriate line:
completing
this proof of claim    ____ I am the creditor
must                   ____ I am the creditor’s attorney or authorized agent.
sign and date it.
FRBP 9011 (b)

If you file this claim     I understand that an authorized signature on this Proof of Claim serves
electronically, FRBP      an acknowledgment that when calculating the amount of the claim, the
5005(a)(2) authorizes     creditor gave the debtor credit for any payments received toward the
courts to establish       debt.
local rules
specifying what a         I have examined the information in this Proof of Claim and have a
signature is.             Reasonable belief that the information is true and correct.

A person who files        I declare under penalty of perjury that the foregoing is true and correct.
a fraudulent claim
could be fined up        Executed on date _______________
to $500,000,                              mm/dd/yyyy
imprisoned for up
to 5 years, or both.     ________________________________________________
18 U.S.C. §§§152,             Signature
157, and 3571.
                         Print the name of the person who completed and signed this claim:

                         Name and Title
                         _________________________________________________________
                         First name       Middle name      Last name   Title

                         Company
                         __________________________________________________________

                         Address
                         __________________________________________________________
                                Number    Street

                        ___________________________________________________________
                               City              State             Zip Code

                       Contact phone___________________________________

                       Email__________________________________________
                                Case 6:20-bk-02159-LVV      Doc 76         Filed 04/22/20   Page 8 of 11
Label Matrix for local noticing               James D’Loughy                                  Scott N Opincar
113A-6                                        AdvisorLaw PLLC                                 MCDONALD HOPKINS LLC
Case 6:20-bk-02159-LVV                        2925 PGA Blvd Ste 204                           600 Superior Ave. E. Ste 2100
Middle District of Florida                    Palm Beach Gardens, FL 33410-2909               Cleveland, OH 44114-2653
Orlando
Wed Apr 22 13:10:23 EDT 2020
Ernie Zachary Park                            Shawn M Riley                                   100 PRATT ST. VENTURE, LLC
Bewley Lassleben & Miller LLP                 McDonald Hopkins LLC                            PO BOX 780462
13215 E Penn St Ste 510                       600 Superior Ave. E. Ste 2100                   Philadelphia, PA 19178-0462
Whittier, CA 90602-1797                       Cleveland, OH 44114-2653


168th and Dodge LP                            AMERICAN EXPRESS PCARD                          ANTHEM BCBS
c/o Michelle E. Shriro                        1801 NW 66TH AVE. STE 103C                      PO BOX 645438
Singer & Levick PC                            Fort Lauderdale, FL 33313-4571                  CINCINNATI, OH 45264-5438
16200 Addison Road, Suite 140
Addison, TX 75001-5377

Alsco Inc                                     (p)C H ROBINSON WORLDWIDE INC                   C.H. Robinson Worldwide, Inc.
c/o James D’Loughy Esq                        ATTN BANKRUPTCY TEAM BILL GLAD                  c/o Mark A. Amendola, Esq.
AdvisorLaw PLLC                               14701 CHARLSON ROAD                             Martyn and Associates Co.
2925 PGA Blvd Ste 204                         SUITE 2400                                      820 W. Superior Ave 10th Floor
Palm Beach Gardens FL 33410-2909              EDEN PRAIRIE MN 55347-5093                      Cleveland, OH 44113-1827

CBL & Associates Management, Inc.             CHERRY HILL TOWN CTR PARTN                      City National Bank
c/o Buffey Klein                              1260 SHELTON ROAD                               c/o Franklin H. Top III
Husch Blackwell, LLP                          ATTN: SHOSHANA MAGDIELI                         CHAPMAN AND CUTLER LLP
1900 N. Pearl St, Ste 1800                    Piscataway, NJ 08854                            111 West Monroe St
Dallas, TX 75201-2467                                                                         Chicago IL 60603-4080

Creditor                                      DOLPHIN MALL ASSOCIATES                         EASTON TOWN CENTER LLC
c/o Leslie C. Heilman                         PO BOX 6700                                     L-3769
Ballard Spahr LLP                             DEPT 189501                                     Columbus, OH 43260-3769
919 N. Market Street, 11th Floor              Detroit, MI 48267-1895
Wilmington, DE 19801-3023

FAIRFAX COMP OF VIRGINIA                      GORDON FOOD SERVICE                             GULFSTREAM PARK RACING
P.O BOX 67000                                 P.O. BOX 88029                                  ATTN: ACCTS RECEIVABLES
DEPT 56501                                    CHICAGO, IL 60680-1029                          901 S. FEDERAL HWY
Detroit, MI 48267-0565                                                                        Hallandale, FL 33009-7199


Get Fresh Produce, Inc                        Gordon Food Services, Inc.                      Gordon Food Services, Inc.
c/o Mary Jean Fassett, Esq                    c/o Jason M Torf                                c/o John C. Cannizzaro
McCarron & Diess                              200 W. Madison Street, Ste. 3500                250 West Street
4530 Wisconsin Ave., NW, Ste 301              Chicago, IL 60606-3417                          Suite 700
Washington, DC 20016-4667                                                                     Columbus, OH 43215-7509

Gordon Food Services, Inc.                    Gulf Coast Produce Distributors, Inc            HINES GLOBAL REIT
c/o Michael W. Ott                            c/o Mary Jean Fassett, Esq                      4875 TOWN CENTER LLC
200 W. Madison St, Ste. 3500                  McCarron & Diess                                P.O. BOX 742632
Chicago, IL 60606-3417                        4530 Wisconsin Ave., NW, Ste 301                Atlanta, GA 30374-2632
                                              Washington, DC 20016-4667

Harris County et al.                          Irvine Spectrum Center LLC                      MICHAEL’S FINER MEATS
c/o John P. Dillman                           a DE LLC                                        29037 NETWORK PLACE
Linebarger Goggan Blair & Sampson LLP         c/o Ernie Zachary Park Esq                      Chicago, IL 60673-1290
P.O. Box 3064                                 Bewley Lassleben & Miller LLP
Houston, Tx 77253-3064                        13215 E Penn St Ste 510
                                              Whittier CA 90602-1797
                                Case 6:20-bk-02159-LVV      Doc 76          Filed 04/22/20   Page 9 of 11
Mark J. Wolfson, Esq.                         Mollie Hart                                      Montgomery County
Foley & Lardner LLP                           c/o Anidjar & Levine, P.A.                       c/o John P. Dillman
100 North Tampa Street                        300 SE 17th Street                               Linebarger Goggan Blair & Sampson LLP
Suite 2700                                    Fort Lauderdale, FL 33316-2550                   P.O. Box 3064
Tampa, FL 33602-5810                                                                           Houston, Tx 77253-3064

OPEN TABLE INC                                PPINC, LLC d/b/a Premier Produce                 PRODUCE ALLIANCE LLC
29109 NETWORK PLACE                           c/o Mary Jean Fassett, Esq                       PO BOX 7762
Chicago, IL 60673-1291                        McCarron & Diess                                 Carol Stream, IL 60197-7762
                                              4530 Wisconsin Ave., NW, Ste 301
                                              Washington, DC 20016-4667

PROFORMA                                      Pacific Retail Capital Partners                  Premier Produce Central FL, LLC
6341 NICHOLAS DRIVE                           c/o Leslie C. Heilman Esq                        t/a Downtown Produce
Columbus, OH 43235-5204                       BALLARD SPAHR LLP                                c/o Mary Jean Fassett, Esq
                                              919 N. Market St 11th FL                         McCarron & Diess
                                              Wilmington, DE 19801-3023                        4530 Wisconsin Ave., NW, Ste 301
                                                                                               Washington, DC 20016-4667
Produce Alliance LLC                          ROUSE - PARK MEADOWS, LLC                        Ronald E. Gold, Esq.
c/o Mary Jean Fassett, Esq                    P.O. BOX 86                                      Frost Brown Todd LLC
McCarron & Diess                              Minneapolis, MN 55486-3096                       3300 Great American Tower
4530 Wisconsin Ave., NW, Ste 301                                                               301 E. Fourth Street
Washington, DC 20016-4667                                                                      Cincinnati, Ohio 45202-4257

STAR-WEST FRANKLIN PK MALL                    Serene Investment Management LLC                 Simon Property Group
P.O. BOX 398008                               c/o Denise Dell-Powell, Esq.                     Attn: Ronald M. Tucker, Esquire
SAN FRANCISCO, CA 94139-8008                  Dean Mead Law Firm                               225 West Washington Street
                                              420 S. Orange Ave Ste 700                        Indianapolis, IN 46204-3438
                                              Orlando, FL 32801-4911

Simon Property Group, Inc.                    Sirna & Sons, Inc.                               Starwood Retail Partners LLC
c/o Richard B. Webber II, Esquire             t/a Sirna & Sons Produce                         c/o Leslie C. Heilman Esq
Zimmerman, Kiser & Sutcliffe, P.A.            c/o Mary Jean Fassett, Esq.                      BALLARD SPAHR LLP
PO Box 3000                                   McCarron & Diess                                 919 N. Market St 11th FL
Orlando, FL 32802-3000                        4530 Wisconsin Ave., NW, Suite 301               Wilmington, DE 19801-3023
                                              Washington, DC 20016-4667
TYSONS CORNER CENTER                          The Macerich Company                             The Taubman Landlords c/o
P.O. BOX 849554                               c/o Leslie C. Heilman Esq                        Andrew S. Conway, Esq.
Los Angeles, CA 90084-9554                    BALLARD SPAHR LLP                                200 East Long Lake Road, Ste 300
                                              919 N. Market St 11th FL                         Bloomfield Hills, MI 48304-2324
                                              Wilmington, DE 19801-3023

VORH Associates, LLC                          Village at Gulfstream Park, LLC                  WASSERSTROM COMPANY
c/o David M. Blau, Esq.                       c/o Leslie C. Heilman                            P.O. BOX 182056
Clark Hill PLC                                Ballard Spahr LLC                                COLUMBUS OH 43218-2056
151 S Old Woodward Ave Ste 200                919 N. Market St, 11th Floor
Birmingham, MI 48009-6103                     Wilmington, DE 19801-3023

WEST FARMS MALL, LLC                          WMB 2, LLC                                       Washington Prime Group Inc.
PO BOX 67000                                  TWB Oxmoor 2, LLC                                c/o Steven R. Wirth, Esq.
DEPT 55501                                    c/o John P. Brice                                Akerman LLP
Detroit, MI 48267-0555                        Wyatt, Tarrant & Combs, LLP                      401 E. Jackson Street, Suite 1700
                                              250 West Main St Ste 1600                        Tampa, FL 33602-5250
                                              Lexington, KY 40507-1746
Washington Prime Group, Inc.                  Watters Creek Owner, LLC                         Willie Itule Produce Inc
Attn: Ronald E. Gold, Esquire                 c/o Leslie C. Heilman Esq                        c/o Mary Jean Fassett, Esq.
3300 Great American Tower                     BALLARD SPAHR LLP                                McCarron & Diess
301 E. Fourth Street                          919 N. Market St 11th FL                         4530 Wisconsin Ave., NW, Suite 301
Cincinnati, OH 45202-4245                     Wilmington, DE 19801-3023                        Washington, DC 20016-4667
                               Case 6:20-bk-02159-LVV               Doc 76       Filed 04/22/20       Page 10 of 11
YTC Mall Owner, LLC                                  Mariane L Dorris +                                   R Scott Shuker +
c/o Leslie C. Heilman Esq                            Shuker & Dorris, P.A.                                Shuker & Dorris, P.A.
BALLARD SPAHR LLP                                    121 South Orange Avenue, Suite 1120                  121 South Orange Avenue
919 N. Market St 11th FL                             Orlando, FL 32801-3238                               Suite 1120
Wilmington, DE 19801-3023                                                                                 Orlando, FL 32801-3238

Mark J. Wolfson +                                    John P Dillman +                                     Ronald M Tucker +
Foley & Lardner                                      Linebarger Goggan Blair & Sampson LLP                Simon Property Group
100 North Tampa Street, Suite 2700                   Post Office Box 3064                                 225 West Washington Street
PO Box 3391                                          Houston, TX 77253-3064                               Indianapolis, IN 46204-3438
Tampa, FL 33601-3391

Denise D Dell-Powell +                               Andrew S Conway +                                    Jill E Kelso +
Dean Mead Egerton Bloodworth Capouano                The Taubman Company                                  Office of the United States Trustee
420 S. Orange Avenue, Suite 700                      200 East Long Lake Road                              400 W. Washington Street
Orlando, FL 32801-4911                               Suite 300                                            Suite 1100
                                                     Bloomfield Hills, MI 48304-2324                      Orlando, FL 32801-2440

John P Brice +                                       Marc   P Barmat +                                    Steven R Wirth +
Wyatt Tarrant & Combs LLP                            Furr   & Cohen, P.A.                                 Akerman Senterfitt
250 West Main Street                                 2255   Glades Road, Suite 301E                       401 E. Jackson Street, Suite 1700
Suite 1600                                           Boca   Raton, FL 33431-7383                          Tampa, FL 33602-5250
Lexington, KY 40507-1746

Alan M Burger +                                      Richard B Webber II+                                 Mark A Amendola +
McDonald Hopkins LLC                                 Zimmerman Kiser & Sutcliffe PA                       Martyn and Associates
505 South Flagler Drive, Suite 300                   315 East Robinson Street                             820 Superior Avenue, Northwest
West Palm Beach, FL 33401-5942                       Suite 600                                            Tenth Floor
                                                     Orlando, FL 32801-4341                               Cleveland, OH 44113-1827

Buffey E Klein +                                     Leslie C Heilman +                                   David M Blau +
Husch Blackwell LLP                                  Ballard Spahr,LLP                                    Clark Hill PLC
2001 Ross Avenue, Suite 2000                         919 North Market St, 11th Floor                      151 S. Old Woodward Ave., Ste. 200
Dallas, TX 75201-2995                                Wilmington, DE 19801-3023                            Birminghaum, MI 48009-6103


Ronald E Gold +                                      Michelle E Shriro +                                  Jason M Torf +
Frost Brown Todd LLC                                 Singer & Levick, PC                                  Ice Miller LLP
3300 Great American Tower                            16200 Addison Road, Suite 140                        200 W Madison Street, Suite 3500
301 East Fourth Street                               Addison, TX 75001-5377                               Chicago, IL 60606-3417
Cincinnati, OH 45202-4257

Franklin H Top III+                                  Lawrence A Levine +                                  Mary Jean Fassett +
Chapman and Cutler LLP                               Anidjar & Levine, P.A.                               McCarron & Diess
111 West Monroe Street                               300 SE 17th Street                                   4530 Wisconsin Avenue, NW, Suite 301
Chicago, IL 60603-4080                               Fort Lauderdale, FL 33316-2550                       Washington, DC 20016-4667


Note: Entries with a ’+’ at the end of the
name have an email address on file in CMECF




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                              Case 6:20-bk-02159-LVV              Doc 76       Filed 04/22/20         Page 11 of 11
C.H. ROBINSON COMPANY, INC
P.O. BOX 9121
Minneapolis, MN 55480-9121




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)WMB 2. LLC                                        (d)Leslie C Heilman +                                End of Label Matrix
TWB Oxmoor 2, LLC                                    Ballard Spahr,LLP                                    Mailable recipients   84
c/o John P. Brice                                    919 North Market Street, 11th Floor                  Bypassed recipients    2
Wyatt, Tarrant & Combs, LLP                          Wilmington, DE 19801-3023                            Total                 86
250 West Main St Ste 1600
Lexington, KY 40507-1746
